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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF KENTUCKY
                          NORTHERN DIVISION
                             AT COVINGTON


  CIVIL ACTION NO. 2011-165 (WOB-JGW)

  ROBERT LEHMAN                                                PLAINTIFF

  VS.                MEMORANDUM OPINION AND ORDER

  ST. ELIZABETH
  HEALTHCARE                                                   DEFENDANT


        This is an employment discrimination case in which the

  plaintiff alleges claims for age and disability

  discrimination, as well as a failure to accommodate a

  disability, in violation of federal and state law.              The

  case is before the Court on defendant’s motion for summary

  judgment.   (Doc. 24).

        The Court previously heard oral argument on this

  motion, after which the parties filed supplemental briefs.

  (Docs. 48, 50).

        Having further reviewed this matter, the Court now

  issues the following Memorandum Opinion and Order.

                  Factual and Procedural Background

        A.    Plaintiff’s Job Duties and Medical Conditions

        Plaintiff Robert Lehman, born in 1954, began working

  for defendant St. Elizabeth Medical Center in 1976 in the

  Security Department.        He was a Security Supervisor from
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  approximately 1985 to 2010, when his employment was

  terminated.

        Defendant’s security employees are responsible for the

  safety of hospital patients, visitors, and staff.            As

  Security Supervisor, plaintiff supervised other hospital

  security officers, performed managerial duties, watched

  security monitors, and responded to emergencies as

  necessary.

        Plaintiff developed diabetes in 2004 or 2005 and, in

  2008, was he was diagnosed with severe sleep apnea.            His

  doctor recommended that he lose weight and either undergo

  upper airway surgery or use a “Bipap” machine while

  sleeping to improve his breathing.        Plaintiff began using

  the Bipap machine.

        B.     Events Leading to Plaintiff’s Termination

        At times relevant to this case, plaintiff’s immediate

  supervisor was Michael Kraft, the hospital’s Director of

  Security/Safety.    Kraft, in turn, reported to Doug

  Chambers, Senior Vice President of Facilities.

        In 2010, John Dubis, the hospital’s Chief Operating

  Officer, was named Chief Executive Officer, although he did

  not officially assume those responsibilities until 2011.

        Defendant’s Senior Vice President of Human Resources

  was Martin Oscadel.    Other Human Resources employees were


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  Roxann Platek, a Human Resources Advisor, who reported to

  Lisa Blank, Director of Recruitment and Employee Relations.

        On August 19, 2010, Platek relayed to Blank and Kraft

  that Ken Rasor, a hospital security guard who was

  supervised by plaintiff, had reported to her that he had

  seen plaintiff sleeping in his office.          Kraft, who had

  never observed plaintiff sleeping, asked the Security

  Department secretary, Kim Difilippo, whether she had seen

  plaintiff sleeping at work.       Difilippo told Kraft that she

  had, in fact, seen plaintiff fall asleep in his office on

  several occasions.     (Kraft Depo. 44).       Kraft relayed this

  information to Blank, Platek, and Chambers.

        The next day, Kraft met with plaintiff and advised him

  that he had received a complaint that plaintiff had fallen

  asleep on duty.     Plaintiff admitted that this had occurred

  on several occasions, and he remarked that it may be

  related to his diabetes.1       (Plf. Depo. 65; Kraft Depo. 50-

  51, 75).   Kraft told plaintiff that sleeping was a

  violation of hospital policy and that he thought plaintiff

  would receive a “Level I” discipline2, but that he had to

  check with Human Resources.



  1
    Plaintiff had previously told Kraft that he had diabetes.
  2
    “Level I” discipline is the initial and least severe step in
  defendant’s discipline process, constituting documented counseling.
  See Doc. 29-1 at 4.

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        In fact, the policy in effect at that time required a

  minimum of “Level III” discipline -– the highest level of

  discipline short of termination -- for a first offense of

  unauthorized sleeping on work time, although the policy

  also stated: “The Health System reserves the right to

  determine the level of discipline depending on the

  circumstances/severity of the infraction.”           (Doc. 29-1 at

  8, 11).

        Kraft then consulted Blank in Human Resources, who

  told him that plaintiff would likely receive a “Level III”

  discipline, that plaintiff would be required to report to

  Employee Health for a fitness for duty examination, and

  that the discipline would apply regardless of the results

  of the exam.

        Kraft informed plaintiff of this information.

  Plaintiff was upset, requested to speak to Blank, and said

  he wanted to file a grievance.         Kraft called Blank, who

  told him that plaintiff could come to her office to discuss

  the matter.

        Plaintiff and Kraft went to Blank’s office.           Blank

  informed plaintiff that it was against policy to sleep at

  work, even on breaks.       She also asked plaintiff if he had

  ever observed other security employees sleeping, and he

  said that he had.    (Plf. Depo. 65).       Blank asked plaintiff


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  how he had responded, and he said that he had told the

  employees not to do it because “it looks bad.”           When

  plaintiff protested undergoing a fitness for duty exam,

  Blank explained that the examination was required because

  plaintiff had raised possible medical issues in relation to

  his sleeping.    (Kraft Depo. 54).

        On August 23, 2010, Kraft and plaintiff met with

  Gerald Hynko of the Employee Health Department, who

  explained the fitness for duty examination process to

  plaintiff.   Hynko also told plaintiff that the ADA may

  apply due to plaintiff’s diabetes.        (Plf. Depo. 67).       Hynko

  reported to Human Resources that there may be a medical

  reason for plaintiff falling asleep at work.

        Sometime around the end of August or early September,

  Blank discussed the situation involving plaintiff with

  Oscadel, who told her that Dubis, the incoming CEO, was

  “very intolerant” of anyone sleeping on paid time.            (Blank

  Depo. 45).   Oscadel thus informed Blank that sleeping

  during work hours would thereafter be grounds for immediate

  termination.    Blank communicated this directive to her

  staff, although the change in policy was not officially

  implemented until the end of 2010 or early 2011.           (Blank

  Depo. 58).




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        Plaintiff’s fitness for duty exam was conducted on

  September 13, 20103, by Dr. Brent Haskell.          In Dr. Haskell’s

  subsequent report to Hynko, Dr. Haskell stated, in part:

        Mr. Lehman admits to sleeping while at work. This is
        likely due to fatigue resulting from inadequate sleep
        time. There is a possibility that the fatigue may be
        exacerbated by inadequately treated sleep apnea. It
        is unlikely that his other medical problems are
        significant contributing factors. Mr. Lehman was
        advised to contact his sleep specialist for a review
        of his Bipap. Pending this review, Mr. Lehman is at
        an uncertain but elevated risk of falling asleep at
        work.

  Doc. 21-3 at 1-2 (emphasis added).

        Hynko then relayed to Blank that Dr. Haskell had

  determined that none of plaintiff’s medical conditions

  caused uncontrollable sleeping.        (Blank Depo. 73).4       Hynko

  also told Human Resources that Dr. Haskell had opined that

  the only medical condition that could cause uncontrollable

  sleeping was narcolepsy.       (Hynko Depo. 36-37; Doc. 34-1 at

  4).   Blank relayed this information, as well as the other

  information obtained during the investigation, to Chambers

  and Oscadel, who determined that plaintiff’s employment

  should be terminated.       (Oscadel Depo. 45-47).

        On September 22, 2010, Kraft and Platek met with

  plaintiff and informed him that he was being terminated for


  3
    The delay was apparently due, at least in part, to plaintiff being on
  vacation.
  4
    It is undisputed that actual medical records were not shared by
  Employee Health due to privacy laws.

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  sleeping on the job and for failing to enforce that policy

  as to employees under his supervision.

        Plaintiff protested his termination through

  defendant’s dispute resolution process.          During this

  process, plaintiff told Chambers that he (plaintiff) made a

  “mistake” by not going to Kraft or Employee Health when his

  fatigue became a problem at work, and that he had not asked

  for an accommodation.       (Plf. Depo. 37).     Plaintiff also

  mentioned that he had since learned of and purchased a

  device worn by truck drivers which can alert a person that

  they are falling asleep.       (Chambers Depo. 57).

        At the conclusion of this process, defendant upheld

  the decision to terminate plaintiff’s employment.             (Doc.

  21-11, 21-12).

        Plaintiff filed this action on August 17, 2011.             (Doc.

  1).




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                                     Analysis

        A.     Disability Claims5

               1.     Discrimination

        The ADA prohibits discrimination by covered entities

  against a qualified individual on the basis of disability

  in regard to terms and conditions of employment, including

  discharge.        See 42 U.S.C. § 12112.

        In the absence of direct evidence, plaintiff must

  prove a prima facie case of discrimination based on

  circumstantial evidence.        Gecewicz v. Henry Ford Macomb

  Hosp. Corp., 683 F.3d 316, 321 (6th Cir. 2012) (citations

  omitted).     To establish a prima facie case, plaintiff must

  show that: he is disabled; he was otherwise qualified to

  perform the essential functions of his job; he suffered an

  adverse employment action; his employer knew or had reason

  to know of his disability; and either the position remained

  open or a non-disabled person replaced him.               Id.

        If plaintiff establishes a prima facie case, the

  burden shifts to the employer to state a legitimate,

  nondiscriminatory reason for the adverse action.                Roetter

  v. Michigan Dep’t of Corr., 456 F. App’x 566, 570 (6th Cir.

  2012) (citation omitted).        “If the defendant satisfies this


  5
    Although not outcome-determinative under the following analysis, the
  Court notes that plaintiff’s ADA claim is subject to the ADA Amendments
  Act of 2008, which became effective January 1, 2009.

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  burden of production, the plaintiff must introduce evidence

  showing that the proffered explanation is pretextual.”                 Id.

  “Under this scheme, the plaintiff retains the ultimate

  burden of persuasion at all times.”         Id.

        To survive summary judgment, a plaintiff claiming ADA

  discrimination must adduce evidence from which a reasonable

  jury could conclude that plaintiff’s disability was a “but

  for” cause of the adverse employment action.             Lewis v.

  Humboldt Acquisition Corp., Inc., 681 F.3d 312, 321 (6th

  Cir. 2012) (en banc).6

        The Court will assume for purposes of this analysis

  that plaintiff suffers from a “disability” so as to trigger

  the protection of the ADA and applicable state law.              The

  Court also assumes that plaintiff was “otherwise qualified”

  because it is undisputed that, until he was reported for

  sleeping, plaintiff had performed his job well for many

  years.7

        Next, it is not disputed that plaintiff suffered an

  adverse action and that defendant knew of plaintiff’s

  medical conditions.      Finally, defendant does not dispute


  6
    The same standard applies under KRS 344. See Hammond v. Norton
  Healthcare, Inc., No. 2011-CA-000586-MR, 2012 WL 5039465, at *5 (Ky.
  Ct. App. Oct. 19, 2012).
  7
    Defendant’s argument that plaintiff was not “otherwise qualified”
  because of the sleeping conflates this part of the case with the issue
  of reasonable accommodation, and the Court will thus draw all
  inferences on this element in plaintiff’s favor.

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   that plaintiff was replaced by Rick Smith, a non-disabled

   employee.

          Plaintiff has thus established a prima facie case of

   disability discrimination.

          Plaintiff’s claim nonetheless fails as a matter of law

   because defendant has proffered a legitimate reason for

   plaintiff’s termination, and plaintiff has adduced no

   evidence from which a reasonable jury could find that

   reason to be a pretext for disability discrimination.

          Plaintiff admitted sleeping at work (Plf. Depo. 28,

   64).   Although he asserts that he only did so while on

   breaks, he concedes that he never asked anyone in

   supervision if it was permissible to sleep during breaks,

   and that he did not know whether it was. (Plf. Depo. 31,

   65).

          Plaintiff argues that there is a factual dispute as to

   when he slept on the job which raises an issue of pretext.

   The Court disagrees, for the record is undisputed that

   defendant considered sleeping on the job by a security

   supervisor at any time, even on breaks, to be unacceptable.

          Defendant’s reason for terminating plaintiff’s

   employment is clearly and consistently stated in the

   record.   Oscadel testified that the decision was based on

   the fact that Employee Health had reported that there was


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   no medical reason that would cause plaintiff to fall asleep

   at work; that the seriousness of the offense was compounded

   by the fact that plaintiff was a supervisor in Security;

   and that, while plaintiff had many years of service, Dubis

   felt strongly that “sleeping on the job was not an

   acceptable behavior, for any associate, but more

   importantly for a Security Officer and a Supervisor in

   Security.”   (Oscadel Dep. 14).

        Further, it is undisputed that, while the policy in

   effect at the time that plaintiff’s sleeping was reported

   called for a minimum “Level III” discipline, that policy

   also reserved in management the discretion to impose

   discipline depending on the circumstances.

        Considering that plaintiff was Security Supervisor,

   and that defendant conducted an investigation in which

   plaintiff admitted sleeping and in which a doctor reported

   that there was no medical reason why plaintiff could not

   control his sleeping, defendant’s decision to terminate,

   while arguably harsh, cannot be considered so unreasonable

   as to raise an issue of pretext.       See Martinez v, Cracker

   Barrel Old Country Store, Inc., 703 F.3d 911, 915 (6th Cir.

   2013) (noting that the “key inquiry is whether the employer

   made a reasonably informed and considered decision before

   taking an adverse employment action”) (citation omitted).


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        Plaintiff also argues that an issue of pretext arises

   based on the different treatment of a non-disabled nurse,

   Amanda Rickey, who received only a Level III discipline for

   sleeping at work on August 21, 2010.

        It is well-established that for differential treatment

   to suffice as evidence of discrimination, the employee and

   the person with whom he compares himself must be “similarly

   situated . . . in all relevant respects.”          Id. at 917

   (citations omitted).       “In the disciplinary context, the

   Sixth Circuit has held that to be found similarly situated,

   the plaintiff and [his] proposed comparator must have

   engaged in acts of comparable seriousness.”             Id. (internal

   quotations and citations omitted).

        “To make this assessment, a court must look to certain

   factors, such as whether the individuals have dealt with

   the same supervisor, have been subject to the same

   standards and have engaged in the same conduct without such

   differentiating or mitigating circumstances that would

   distinguish their conduct or the employer’s treatment of

   them for it.”   Id.    See also Laws v. HealthSouth N. Ky.

   Rehab. Hosp. Ltd., No. 11-6360, 2012 WL 6176797, at *6 (6th

   Cir. Dec. 11, 2012) (discussing comparator analysis in

   disciplinary context).




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        Applying these factors, Rickey is not similarly

   situated as a matter of law.      Despite plaintiff’s assertion

   to the contrary, the record is undisputed that, prior to

   sleeping in an empty patient room, Rickey told her

   immediate supervisor that she was not feeling well and

   wanted to lie down.    (Blank Depo. 46-47).       Subsequently,

   the House Supervisor intervened and told Rickey that she,

   in fact, was not allowed to sleep at night.

        It is not disputed that plaintiff never asked a

   supervisor if he was allowed to nap at work, whether on a

   break or otherwise.    This alone constitutes a

   “differentiating or mitigating circumstance” which renders

   the different discipline meted out to Rickey legally

   irrelevant.

        Second, it is not disputed that Oscadel and Chambers –

   the decisionmakers in plaintiff’s termination – were not

   involved in the Rickey discipline.       And, while plaintiff

   argues that Blank was “involved” in both situations, there

   is no evidence that she was actually a decisionmaker as to

   plaintiff’s termination, as opposed to being merely a

   conduit for information to management.        Furthermore, Blank

   testified that, at the time Rickey received a Level III

   discipline, Blank was unaware of Dubis’ stricter view of

   sleeping, which view had been communicated to Oscadel at


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   the time he and Chambers decided to terminate plaintiff’s

   employment.

        Finally, it is undisputed that every other employee

   who was disciplined for sleeping at work during the Fall of

   2010 and later, including plaintiff, was terminated.

        For these reasons, plaintiff’s disability

   discrimination claim fails as a matter of law.

              2.    Failure to Accommodate

        The ADA also prohibits as discrimination an employer’s

   failure to make reasonable accommodations for an employee’s

   known disability unless that accommodation would impose an

   undue burden on the operation of the business.          See 42

   U.S.C. § 12112(a), (b)(5)(A).

        Plaintiff must show as part of a prima facie case for

   a failure to accommodate claim that he requested an

   accommodation.   This is not only commonsensical, but it

   comports with one of the purposes of the ADA, which is to

   discourage employers from stereotyping employees with

   disabilities or making assumptions about their

   capabilities.

        Thus, “if the employee never requests an

   accommodation, the employer’s duty to engage in the

   interactive process is never triggered.”         Melange v. City




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   of Center Line, 482 F. App’x 81, 85 (6th Cir. 2012)

   (citation omitted).

        By his own admission, plaintiff never requested any

   accommodation prior to his termination.         (Plf. Depo. 37).

   Although plaintiff informed Kraft of his diabetes

   diagnosis, and although Hynko raised the potential

   applicability of the ADA during the fitness for duty exam

   process, plaintiff never asked that any changes in his

   duties or working conditions be made to accommodate his

   allegedly medical-related fatigue.

        “The employer is not required to speculate as to the

   extent of the employee’s need or desire for an

   accommodation.”    Gesegnet v. J.B. Hunt Transp., Inc., No.

   3:09-CV-828-H, 2011 WL 2119248, at *5 (W.D. Ky. May 26,

   2011) (quoting Gantt v. Wilson Sporting Goods Co., 143 F.3d

   1042-47 (6th Cir. 1998)).     Instead, the burden is on the

   employee to propose a reasonable accommodation “with

   sufficient specificity.”     Id. (citation omitted).

        During the dispute resolution process, plaintiff

   stated that he had learned of and purchased a device used

   by truck drivers to alert the wearer if he is falling

   asleep.   Of course, this was more than a month after

   plaintiff’s termination.     “Reason dictates that a plaintiff

   must have . . . requested an accommodation prior to the


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   time at which an employer takes adverse action against a

   disabled employee.”    Id.

        Plaintiff’s failure to accommodate claim thus fails as

   a matter of law.

        B.    Age Discrimination

        Plaintiff must establish a prima facie case of age

   discrimination by showing that: (1) he was over 40 years

   old; (2) he suffered an adverse employment action; (3) he

   was qualified for the position; and (4) he was replaced by

   a substantially younger person or treated differently than

   a similarly-situated younger person.        Laws, 2012 WL

   6176797, at * 6 (citation omitted).

        Plaintiff’s age claim fails at this stage under the

   fourth prong because: (1) he was replaced by Rick Smith,

   who is older than plaintiff (Kraft Depo. 92), and (2) the

   younger employee with whom he compares himself, Amanda

   Rickey, is not similarly situated as a matter of law for

   the reasons already discussed.

        Even could plaintiff proceed beyond the prima facie

   stage, there is no evidence that defendant’s reason for

   terminating his employment was a pretext for age

   discrimination.    Plaintiff’s arguments as to pretext here

   are identical to those asserted in regard to his disability

   claim, which have been addressed.       There is simply no


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   evidence from which a reasonable jury could conclude that

   plaintiff’s age was a “but for” factor in his termination.

   See Gross v. FBL Finan. Serv., 557 U.S. 167 (2009).



        Therefore, having reviewed this matter, and the Court

   being otherwise sufficiently advised,

        IT IS ORDERED that defendant’s motion for summary

   judgment (Doc. 24) be, and is hereby, GRANTED.          A separate

   judgment shall enter concurrently herewith.



        This 1st day of April, 2013.




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